           Case 1:91-cr-00116-LJO Document 228 Filed 08/23/07 Page 1 of 2




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                            UNITED STATES DISTRICT COURT
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                           EASTERN DISTRICT OF CALIFORNIA
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11   JOHN LEE HODGE,
                                                 NO. CR. 1-91-0116 WBS
12                 Petitioner,
                                                            ORDER
13           v.
14   UNITED STATES OF AMERICA,
15                 Respondent.
                                     ----oo0oo----
16
17                 Petitioner asks the court, pursuant to Rule 60(b)(6)
18   of the Federal Rules of Civil Procedure, to modify his sentence
19   to reflect a criminal history category V instead of VI.                The
20   court denies the request because the criminal history category
21   was correctly calculated.         A conviction based on a plea of nolo
22   contendere is properly counted, for purposes of the sentencing
23   guidelines, the same as if it were based on a plea or finding of
24   guilty.      United States v. Govan, 152 F.3d 1088 (9th Cir. 2006).
25                 IT IS THEREFORE ORDERED that petitioner's application
26   to revisit his sentence pursuant to Rule 60(b)(6) of the Federal
27   ///
28   ///
        Case 1:91-cr-00116-LJO Document 228 Filed 08/23/07 Page 2 of 2




 1   Rules of Civil Procedure be, and the same hereby is, DENIED.
 2   DATED:   August 23, 2007
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